Case 9:18-cv-80086-DI\/|I\/| Document 22 Entered on FLSD Docket 03/08/2018 Page 1 of 1

PREE|S|C|N PRDBESB SERVlNG

RETL|RN CIF BERVICE AF'F'!DAVIT

UN|TED STATES D|STR|CI' COURT SOUTHERN DISTRlC'I' OF FLOR|DA

 

NAME OF COUiiT
Charies Wildes, individually; Francisco Doria, vs. Bitconner:t international PLC, a foreign corporation; Civii action No.$:lS-cv-
lndividually; |civa liatz; .lames Gurrv. Bitconnect l.TD, a foreign company; loshua SDOBB'DMM
individually; lionald Nelson, lndhridually; and ieppesen, and lndlviduai; Trevon Brown alicia
justin Peny, lndividually; and on behalf of all 'i’re\ron iarnos. an individual; Ryan Hildrotb, an
others similarly situated individual; Cra|g Grant; lohn Doo no. 1 ali¢/a

Nir.hoias Tro\rato afl¢la Cryptonlck, an individuals
Ryan Maasen, an individual; lohn Doo no. 240
individuals
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l scott L HOSleOn , being first duly sworn, depose and says that l am over the age of 18 years and not a party to this
action, and that within the boundaries of the State of Oldahoma, l was authorized by law to perform said service.

service ls¢rved Ryan Nlaasen
NAM E(S) OF RESPQNDENT|S) BElNG SERVED

vla: E Personal Servloe l:l Substlurted Servloe l:] Corporate Agenlf£ntlty n Postlng in Conspicuous Area

 

 

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on the 4th day or Februarv , 2018 at 2:16 pm ar residence ,
021 Mol'lth tear Tlmo Lotltiorl||~l.|\esi*r\oi)
10129 S. Marion Ave. Tulsa, Ok 74137
SI’REUADORES CI|"(I$I’ATE{DP

 

 

Non-Servlca: After due dillgence, careful inquiry, and attempted service, i have been unable to effect process upon the respondent{s)
due to one or more of the following reason(s):

m Unab|e co locate I:] Unknown at Address I:I Moved. No Forwarding Address l:l Unable to Serve in a Time|y Fashion
I:l Service Canl:el|ed by Petltloner/Plaintllf I:] Address Does Not Exlst m Plaintiifll'etltloner provided incorrect information

l l:l Other:

 

 

 

 

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n ll m m - \- w m m ” _ _
Description: - Race Sex llelghc weight Other:

 

   

WENDY idlUl'SOrl
Not.lry public - Sute of Olr.iehome 1
Commisslon Number 13007051 /

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